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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-01331 JAK (PLAx)                                         Date        November 10, 2021
 Title       James River Insurance Company v. Semaj Brantley




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                              Not Reported
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                             Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION AS TO SEMAJ BRANTLEY

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 17,
2021, why this action should not be dismissed for lack of prosecution. In the absence of showing good
cause, an action shall be dismissed if the summons and complaint have not been served within 90 days
after the filing of the complaint pursuant to Fed. R. Civ. P. 4(m). In light of the filing date of February
12, 2021, and the Order re Extension (Dkt. 17), proof(s) of service were due by November 9,
2021. An action may also be dismissed prior to such time if the Plaintiff fails diligently to prosecute the
action. The Order to Show Cause will stand submitted upon the filing of an appropriate response. No
oral argument will be heard unless otherwise ordered by the Court. Plaintiff is advised that the Court will
consider the filing of a responsive pleading to the complaint and/or proof(s) of service, which indicates
proper service in full compliance with the federal rules, on or before the date upon which the response
is due, as a satisfactory response to the Order to Show Cause.

IT IS SO ORDERED.




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                                                           Initials of Preparer      TJ




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